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                                                       U.S. Department of Justice


                                                       United States Attorney
                                                       Eastern District of New York
  MAA/LB/CJN                                           271 Cadman Plaza East
  F. #2017R05903                                       Brooklyn, New York 11201


                                                       July 16, 2024


  By Email and ECF

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                  Re:    United States v. Huawei Technologies Co., Ltd., et al.
                         Criminal Docket No. 18-457 (S-3) (AMD)

  Dear Counsel:

                Enclosed please find the government’s production of discovery in accordance
  with Rule 16 of the Federal Rules of Criminal Procedure. This discovery supplements the
  government’s previous productions. The discovery is being produced pursuant to the Protective
  Order entered by the Court on June 10, 2019 (“the Protective Order”). See ECF Docket Entry
  No. 57. The government also requests reciprocal discovery from the defendants.

  I.      The Government’s Discovery

       Document Description          Category of                      Bates Range
                                 Discovery Pursuant
                                 to Protective Order

        Records regarding an      Discovery Material     DOJ_HUAWEI_A_0123758413 –
          employee of the              (“DM”)            DOJ_HUAWEI_A_0123761527
             Defendant.
        Records regarding a               DM             DOJ_HUAWEI_A_0123761528 –
         logistics company.                              DOJ_HUAWEI_A_0123761836
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                                            Very truly yours,

                                            BREON PEACE
                                            United States Attorney
                                            Eastern District of New York

                                     By:     /s/ Meredith A. Arfa
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                                            MARGARET A. MOESER
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                                            Recovery Section, Criminal Division
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                                     By:    /s/ Laura Billings
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                                            Trial Attorneys

                                            JENNIFER KENNEDY GELLIE
                                            Acting Chief, Counterintelligence and
                                            Export Control Section
                                            National Security Division, U.S. Department
                                            of Justice

                                     By:    /s/ Christian Nauvel
                                            Christian Nauvel
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